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                        IN THE UNITED STATESDISTRICT COIJRT
                       FOR TIIE SOPTHERN DISTRICT OF FLORIDA
                               W EST PA LM BEA CH D IW SIO N

                                CASE NO .9:23-CV-80015-AM C


    JOH N AN THONY CA STRO
                                                                          FILED BY                   D
          Plaintiff,                                                                                     C.
                                                                                                         .



                                                                                  FE8 15 2223
                                                                                 ANGEL
                                                                                CL    IUA E. NOBLE
                                                                                    ERI
    D ON ALD I TRUM P                                                           s.       S DISTLCX
                                                                                   o.o!zFkà.-w.RB.
          Defendant.


                       PLM NTIFF JO HN ANTH O NY CA STR O 'S M O TIO N
                          TO DISOUALIFY JUDGE M LEEN CANNON

          Plaintiff,JOH N ANTHON Y CA S'
                                       1nRO ,Fr/ se,hereby fileshisM otion to Disqualify Judge

   A ileen Cannon,United StatesD istrictJudge forthe Southern D istrictofFlorida,pursuantto 28

   U.S.C.j455(a)and,asgroundsfordisqualiscation,statesasfollows:
          The standardofreview on am otion forrecusalbased on appearance ofpartiality iswhether

   an objective,disinterested,lay observer,fully informed ofthefactsunderlying thegroundson
   whichrecusalwassought,wouldentertainasignificantdoubt'aboutthejudge'simpartiality;the
   standardis,thus,anobjectiveonedesignedtopromotethepublic'sconfdenceintheimpartiality
   andintegrityofthejudicialprocess. US.v.Scrushy 721F.3d1288(11thCir.2013).
          Thequestiononappellatereview would beasfollows:wouldanobjective,disinterested,
   lay person,fully inform ed ofthe facts,have a signitk antdoubtregarding Judge A ileen Cannon's

   im partiality?

          Thedecisionwhetherajudge'simpartialitycanreasonablybequestioned,forthepurpose
   am otion to recuse,isto bem ade in lightofthe facts asthey existed;notasthey were surm ised or

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   reportedbythemedia.Cheneyv.US.Dist.Ct.forD.C.,541U.S.913(2004).In otherwords,
   m ediaassum ptions,hyperbole,and exaggerations are disregarded.

           Judge A ileen Cannon's intervention in the crim inal investigation of fonner President

   Donald J.Trum p w as w idely criticized by the generalpublic,legal experts,and constitutional

   scholars. M oreover,it resulted in num erous ethics complaints being filed againstJudge A ileen

   Cannon w ho isfully aware ofthepublic backlash.

           Although thejudicialcomplaintswereultimately dismissed,there remainswidespread
    doubtin the generalpublic regarding Judge A ileen Cannon's im partiality w ith regard to m atters

    involvingformerPresidentDonald J.Trump,especially amongstthosethataretruly objective,
    disinterested,lay,and fully inform ed.

           The U .S. Court of A ppeals for the 11th Circuit ultim ately overtunzed Judge A ileen

    Cannon'srulingandheldthattheGçlaw isclear.W ecannotwritearulethatallowsanysubjectôf
    a search warrantto block governm ent investigations afterthe execution ofthe w arrant.N or can

    we w rite a rule that allow sonly form erpresidentsto do so.Eitherapproach w ould be a radical

    reordering ofourcaselaw lim iting the federalcourts'involvem entin crim inalinvestigations.A nd

    both w ould violate bedrock separation-of-pow erslim itations.'' Trump v.U S.,54 F.4th 689,701

    (11th Cir.2022). ThiswasascathingcritiqueofJudgeAileenCannonand adirectsndingthat
    herintervention in the crim inalinvestigation ofform erPresidentD onald J.Trum p w asan abuse

    ofdiscretion,unlaw fulin thatitw as irreconcilable w ith nearly a century ofestablished case law

    from the U .S.Suprem e Court,and unconstitutiona
                                                   'lforviolating the lim itations on separation of

    POW erS.

           Although ajudge'srulingsalonegenerally do notestablish biasorthe perception of
    partiality,this is one of those rare cases in which it does. In this case,Judge A ileen Cannon's


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   abusive,unlawful,and unconstitutionalattem ptto obstructthe crim inalinvestigation into form er

   President Donald J. Trum p led widespread public perception that Judge A ileen Cannon is

   incapable ofim partiality with m attersinvolving form erPresidentDonald J.Trum p.

          Therecusalinquiryforajudgebased uponperceivedlack ofimpartiality mustbemade
   from the perspective of a reasonable observer who is inform ed ofallthe surrounding facts and

   circumstances.Cheneyv.ULS.Dist.Ct.forD.C.,541U.S.913(2004).
          The Eleventh Circuitcould nothave been m ore clear:Judge A ileen Cannon disregarded

   nearly 80 yearsofestablished case Iaw including decisions from the U.S.Suprem e Court,which

   shelcnew w asthe Suprem e Law ofthe Land forwhich shehad no basisin law to disregard.Judge

   A ileen Cannon abused herdiscretion in an attem ptto thw artthe crim inalinvestigation ofthe m an

   thatawardedherwith alifetimeappointmentinthefederaljudiciary.lftheseactionsweretaken
   by any otherperson,itcould possibly constitute abuse ofprocessand obstruction ofjustice
   resulting in the potentialforcrim inalcharges.

          A districtcourtjudge'srefusalto recuse himselfon the groundsthatan objective lay
   observer fully informed ofthe facts would entertain a signiticant doubt aboutthejudge's
   impartiality issubjecttoreview forabuseofdiscretion.Divers6edNumismatics,Inc.v.Cityof
   Orlando,FL.,949F.2d382(11thCir.1991).
          lnasm uch as Eçappearance of partiality''m ay vary from districtto district,itwould seem

   appropriatetoapplyaEEcommunitystandard''toquestionsregardingwhetherajudgeshouldrecuse
   herselfforreason thatheritim partiality m ightreasonably be questioned.'' Smith v.Pepsico,Inc.,

   434F.Supp.524,526(S.D.Fla.1977).
          In thiscase,ifw eapplythecom m unity standard,itw ould be indisputablethatJudgeA ileen

   Cannon'simpartiality can reasonably'be questioned in thiscase. Ip fact,themore objective,
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   disinterested,and inform ed the person is,the m ore likely theperson would have significahtdoubt

   asto Judge A ileen Cannon's im partiality.

           Therecusalstandardforajudge,whetherhisimpartialitymightreasonablybequestioned,
   is one ofreasonableness and should notbe interpreted to m andatörily require recusalbased upon

   spuriousorvaguechargesofpartiality. Smithv.Pepsico,Inc.,434F.Supp.524(S.D.Fla.1977).
           ln this case,the M otion to Recuse isnotbased on spurious orvague accusations. Legal

   experts, constim tional scholars, and the U .S. Court of Appeals for the Eleventh Circuit all

   concluded that Judge A ileen Cannon abused her discretion and violated the United States

   Constitution'slim itationson separation ofpow erswhen sheengaged in anovelform ofobstruction

   ofjustice. Thevastmajority ofobjective,àisinterested,1ayyetfully informed observerswould
   have significantdoubtregarding Judge Aileen Cannon's im partiality.

           A violationofthestatuterequiringajudgetorecuseherselfinanyproceedinginwhichher
    im partiality m ightreasonably be questioned isestablished w hen a reasonable person,know ing the

   relevantfacts,would expectthatthe judge knew circumstances creating an appearance of
   partiality, notwithstanding fnding that the judge was not actually conscious of those
    circumstances.filiebergv.Health,
                                   S'
                                    crvl'
                                        .AcquisitionCorp.,486U.S.847(1988).Furthermore,
    failuretorecusemaywarrantrelieffrom finaljudgment.1d.
           lnthiscase,althoughitisnotnecessary,JudgeAileenCannonwasthesubjectofnumerous
   ethics com plaints regarding her abusive,unlawful,and unconstitutionalattem ptto obstructthe

    crim inalinvestigation into Donald J.Trum p.

           Therecusalstatute ççis violated ifthe generalpublic could reasonably believe...thatthere

   wouldbeanappearanceofimpropriety.''SeeUl5'
                                            .v.Garrudo,869F.Supp.1574(S.D.Fla.1994),
    aff'dsubnom.139F.3d 847(11th Cir.1998),reh'
                                              ggrantedandopinionvacated,161F.3d652

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    (11thCir.1998),andonreh'
                           g,172F.3d806(11thCir.1999),cert.denied528U.S.985.
          Scienterisnotrequiredinordertotsndviolationofstatuerequiringjudgetorecuseherself
   ifim partially m ightreasonably be questioned. f#.

          A judgewasfound to bedisqualiGedfrom sittingonpostconviction mattersconcerning
   criminaldefendantwhereareasonablepersoninthestreetwouldharbordouytsastotjyejutjgu,s
    impartialitytositonsuchmatterssincedefendanthadexpressedhostilitytowardthejudgedespite
   thefactthatthejudgedeniedanypersonalbiasorprejudice. US.v.Cerrella,529F.Supp.1373
   (S.D.Fla.1982).
          ln this case,PlaintiffJohn A nthony Castro has publicly accused Judge A ileen Cannon of

   being Gtcorrupt''forher abusive,unlaw ful,and unconstitutionalattem ptto obstruct the crim inal

   investigation ofform erPresidentDonald J.Trum p.

          W H EREFORE, PLA IN TIFF, John Anthony Castro, respectfully requests that Judge

   A ileen Cannon be disqualitied from the above-referenced litigation,and thatshe recuse herself

   from actinginanycapacity,whatsoever,inthissubjectcase.
          PLA INTIFF,John A nthony Castro,FU RTH ER PRAY S forany otherreliefthisCourtm ay

   deemjustandproper.
                 CERTIFICATION PURSUANT TO LOCAL RIJLE 7.1(a)(3)
          The undersigned counselhasnotconferred w ith counselfortheD efendantin a good faith

   effortto resolve the issues in thisM otion,asno appearancehas been filed by the Defendant.



   D ATED the 15th day ofFebruary 2023




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                                             Respectfully subm itted,




                                             By:
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                                                    12 Park Place
                                                    M ansfield,TX 76063
                                                    Tel.(202)594-4344
                                                    J.castro@lohncastro.com
                                                    Plaintiff,Pro Se




                                CERTIFICATE O F SERW CE

          1 hereby certify that on February 15,2023,a true and accurate copy of the foregoing

   M otion w asserved viaU .S.FirstClassM ailon thefollow ing:

   D onald J.Trum p
   1100 S.Ocean B lvd
   Palm Beach,Florida 33480




                                              s/
                                              Jo n Anthony Castro




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